        Case 1:19-cv-11438-PBS Document 243 Filed 01/28/21 Page 1 of 6




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

                Plaintiff and Counterclaim
                Defendant,
                                                   Case No. 1:19-CV-11438-PBS
       v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                Defendant and Counterclaim
                Plaintiff.



     OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.’S MEMORANDUM IN
     SUPPORT OF ITS MOTION TO SUPPLEMENT ITS PRELIMINARY NON-
             INFRINGEMENT AND INVALIDITY CONTENTIONS

       Pursuant to L.R., D. Mass 16.6(d)(5) and the Court’s December 14, 2020 Order (ECF No.

219), Defendant and Counterclaim Plaintiff Omilia Natural Language Solutions, Ltd. (“Omilia”)

moves for leave to supplement its Preliminary Non-Infringement and Invalidity Contentions

(“Preliminary Contentions”). On December 14, 2020, the Court allowed Nuance’s motion for

leave to amend its infringement contentions and granted Omilia 45 days to move to supplement its

preliminary non-infringement and invalidity contentions. See ECF No. 219. Omilia now seeks

leave to supplement both its non-infringement and invalidity contentions to respond in full. A

copy of Omilia’s proposed Third Supplemental Non-Infringement and Invalidity Contentions

(“Third Supplemental Contentions”) are attached to this motion.       Declaration of Daniel S.

Sternberg (“Sternberg Decl.”), Exhibit A.1 Good cause exists for this supplementation.



1
 Omilia’s existing operative contentions, Omilia’s “Second Supplemental Contentions,” were
supplemented on December 14, 2020. ECF No. 219. The new proposed additions Omilia now
proposes can be found starting on page 33, under the heading “third supplemental contentions,”
and within the supplemental claim charts at Supplemental Appendices 1 and 2. Ex. A.
                                               1
         Case 1:19-cv-11438-PBS Document 243 Filed 01/28/21 Page 2 of 6




       Local Rule 16.6(d)(5) permits a party to supplement preliminary non-infringement and

invalidity contentions with leave of the court upon a showing of good cause. L.R., D. Mass

16.6(d)(5). Omilia has good cause to supplement its contentions. Under Local Rule 16.6(d)(5),

good cause exists where, as here an opposing party has been permitted to amend its disclosures.

See id. The Court further ruled that it was “allowing [Omilia] to supplement in response” and

ordered that Omilia “shall file a motion to supplement its preliminary non-infringement and

invalidity contentions.” December 14, 2020, Tr. at 82:3-7; ECF No. 219.

       Omilia’s proposed Third Supplemental Contentions are necessary to account for and

respond to Nuance’s December 14, 2020, amended infringement contentions, which further

describe its interpretations of the asserted claims as well as provide new details on its infringement

allegations. Nuance’s December 14, 2020 amended infringement contentions substantially revise

the infringement theories Nuance disclosed in its prior infringement contentions, which were

submitted over a year prior. Compare, e.g. ECF No. 204, Ex. D at A-10-A15 with ECF No. 216,

Ex. 1 at A-20 (discussing a “split-and-merge” procedure). Nuance’s amended infringement

contentions not only identify a number of additional Omilia ASR features but also assert new claim

construction interpretations after this case’s Markman process. Compare, e.g., ECF No. 204, Ex.

D at A-10-A-15 with ECF No. 216, Ex. 1 at A-20-A-21.

       Omilia’s Third Supplemental Contentions focus the patent infringement and invalidity

issues on the five remaining asserted claims from the Phase 1 patents and directly respond to

Nuance’s new claim interpretations and infringement theories. These supplemental contentions

provide detail on Omilia’s non-infringement and invalidity positions, including in charts by

reference and patent format.       Omilia has been diligent in submitting these supplemental

contentions as the additions described below were first identified after the new and substantial


                                                  2
         Case 1:19-cv-11438-PBS Document 243 Filed 01/28/21 Page 3 of 6




additions and changes to Nuance’s infringement theories that the Court allowed on December 14,

2020 and within the 45 days provided by the Court to respond to Nuance’s contentions. ECF No.

219.

       For example, Omilia’s Third Supplemental Contentions respond to Nuance’s new

allegations of infringement under 35 U.S.C. § 271(g), which the Court allowed Nuance to add on

December 14, 2020. ECF No. 219 They also provide additional documentary evidence and

explanation rebutting Nuance’s new theories based on its new identification of a “decision

network,” Nuance’s new allegations concerning Omilia’s “ru-ua-mix” speech recognizer, and

Nuance’s new “re-estimation” theory for the ’925 patent. See, e.g., Sternberg Decl. Ex. A,

Supplemental App’x 1, at 8-10, 13. Similarly, these contentions provide additional documentary

evidence and explanation to rebutt Nuance’s new theory relating to “iVectors” and why it does

not establish infringement of the ’993 patent and respond to Nuance’s new allegations concerning

the content of Omilia’s lexicons in dependent claim 19 of the ’993 patent. See Sternberg Decl. Ex.

A, Supplemental App’x 2, at 6-8, 14-15.

       Omilia’s Third Supplemental Contentions also provide additional detail on why the

previously identified prior art render the asserted claims invalid in light of Nuance’s new

interpretations and infringement theories. For example, these contentions provide additional

support in Waibel and Thiesson for “re-estimation” based on Nuance’s new interpretation and

application of that limitation in Nuance’s Supplemental Infringement Contentions, Exhibit A.

Omilia’s Third Supplemental Contentions at 38. In addition, these contentions supplement

previous invalidity arguments under section 112 based on Nuance’s interpretation of various term

language in its claim charts. For example, Omilia explains that to the extent Nuance contend the

term “re-estimation” permits adjusting acoustic model parameters or weighting neural networks,


                                                3
         Case 1:19-cv-11438-PBS Document 243 Filed 01/28/21 Page 4 of 6




there is no written description or support for this interpretation. Omilia’s Third Supplemental

Contentions at 37-38.

       In addition, allowing Omilia to amend its contentions serves the interest of fairness and

judicial economy as it will help the parties to narrow, prioritize and resolve the Phase 1 patent

issues. Good cause exists for supplementation in view of the status of the litigation and the timing

of these disclosures. Omilia’s Motion to Supplement is consistent with the Court’s order that

Omila “shall file a motion to supplement its preliminary non-infringement and invalidity

contentions.” ECF No. 219. This case remains at an early stage. Fact discovery is ongoing and

will not close until March 30, 2021. Expert discovery will not close until June 29, 2021. Nuance

has not completed its document production. No depositions have occurred. These supplemental

contentions will also not affect the completion of discovery nor will it unduly prejudice Nuance.

       Omilia met and conferred with Nuance on January 27 and 28, 2021. Nuance indicated that

it reserves all rights, and will inform Omilia and the Court on its position Omilia’s motion for

leave to supplement.

       For the reasons stated above, Omilia respectfully requests that the Court find that good

cause exists and grant Omilia’s motion to supplement its Preliminary Non-Infringement and

Invalidity Contentions.




                                                 4
        Case 1:19-cv-11438-PBS Document 243 Filed 01/28/21 Page 5 of 6




Dated: January 28, 2021              Respectfully Submitted,


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                                     Ltd




                                      5
        Case 1:19-cv-11438-PBS Document 243 Filed 01/28/21 Page 6 of 6




                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on January 28, 2021, with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5.4 (c).



                                            /s/ Daniel S. Sternberg
                                            Daniel S. Sternberg




                                               6
